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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


CHERI CLARKE, JAY VYAS, and
BRITTANY FERGUSON, individually and on
behalf of all others similarly situated,             Case No. 1:21-cv-04185
                Plaintiffs,
                                                     Hon. Mary M. Rowland
        v.

AVEDA CORPORATION,
                Defendant.


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED by and between Plaintiffs Cheri Clarke, Jay Vyas, and

Brittany Ferguson and Defendant Aveda Corporation, through their respective undersigned

counsel, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that all claims asserted

in the above-captioned action are hereby dismissed with prejudice, with each party to bear its own

attorneys’ fees and costs.




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Dated: August 8, 2024

Respectfully submitted,                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing was filed
with the Clerk of the Court using the Court’s e-filing system, which will send notice and allow
access to all parties and counsel who have entered their appearance in this matter.



                                                    /s/ Brandon M. Wise




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